Case 1:14-cv-00001-SEB-TAB Document 76 Filed 04/06/16 Page 1 of 1 PageID #: 399




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


 STEFAN HARTFORD, Individually and             )
 on behalf of all others similarly situated,   )
                                               )
                               Plaintiff,      )
                                               )       1:14-cv-0001-SEB-MJD
 v.                                            )
                                               )
 NTN DRIVESHAFT, INC.,                         )
                                               )
                               Defendant.      )


                                               ORDER

        The Court, having reviewed and considered the parties’ Joint Motion for Final Certification

 of Conditionally Certified Collective Action [Dkt. 71], and Joint Motion for Approval of

 Settlement Agreement [Dkt. 72], hereby GRANTS same.

        SO ORDERED this 6th day of April 2016.




 DISTRIBUTION:

 Jason Brown, Esq.                                   Kathleen M. Anderson, Esq.
 Nicholas Conlon, Esq.                               BARNES & THORNBURG LLP
 JTB LAW GROUP, LLC                                  110 E. Wayne Street, Suite 600
 155 2nd Street, Suite 4                             Fort Wayne, IN 46802
 Jersey City, NJ 07302
                                                     David J. Pryzbylski, Esq.
                                                     Terry W. Dawson, Esq.
                                                     BARNES & THORNBURG LLP
                                                     11 South Meridian Street
                                                     Indianapolis, IN 46204-3535
